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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


FLASH DNL, LLC,

       Plaintiff,
                                                    Case No. 2:11-cv-00211
v.
                                                    JURY TRIAL DEMANDED
CARDAS AUDIO, LTD.,

       Defendant.

                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims and counterclaims asserted between plaintiff, Flash DNL, LLC, and

Defendant, Cardas Audio, LTD., in this case, and the Court being of the opinion that said motion

should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

plaintiff, Flash DNL, LLC, and Defendant, Cardas Audio, LTD., are hereby dismissed with

prejudice, subject to the terms of that certain agreement entitled “SETTLEMENT

AGREEMENT” and dated August 18, 2011.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.
       SIGNED this 12th day of September, 2011.



                                            __________________________________________
                                            T. JOHN WARD
                                            UNITED STATES DISTRICT JUDGE
